                                       2:11-cv-02065-MPM-DGB # 93               Page 1 of 6
                                                                                                                     E-FILED
                                          /                    Friday, 04 May, 2012 01:45:40 PM
                                  UNITED STATES DISTRICT COURT     Clerk, U.S. District Court, ILCD
                                   CEi'<lRAL DISTRICT Of ILLINOIS




                                                                                  Case .No. _1       c -,-v~'1<!J~
                                                                                             .-=-'_- -=-   .C      v0;-




~             42 U .S .C. §1983 (suit against st..,1te o ffici~ls for consT.it.utional viol<'ltions) .

u            .28 U.S.c. § 1331 (suit ag:1inst federai offici;1 [S for constitu ti ona l violat ions)

!II-         Othe, Sf:"        APRil..   3aHa I 2012      0 ~/IJ I€JtJ / [)toc,kec'C[~", By        Xvdd{; /-1 lcJi/4L..
              p.   Me CdSke-¥ (23 /l.1M oRdBi.).jJJ                nns CM~; rJ l'rz                    ftfa./.f'1 /...c:v-2di>S
                                                                                              V. G"-l-l.,
Please note: This fo rm has been cr~a1ed lo r pJiso:zers but cC!.n D.e adapted .tor use by n.on -prison.ers.
~ c uc ,Q,x,p.,/. II) civtl.. f/.1G,UT:!<>(!;U·Jsriruno}J.dLIZ.,q ~ JOJ.
         Now comes the plaintff, IJeiU1.IN L. tJ lrz. JR.. ~ (               .      , and states as foHows:
                                                                            I
                                                                                                    ,
My cumnt address is: Ddt-hi / II", Cog/?, C&?t-.!'@g                    3 B2-'"    ~J.J"f /41110'.1      sv.
                    •
    DAN\) hit< 1 :h.    Co   Ie 3 If

The defendant pAul A. 14 LBOL
      •                                                                                   •
-,0",-,-,1a.e
           """C",-y;",O:lOt~_ _ __ _ _ _ at 04 (Jul (/ '" LO£~. c.~ ..un£.. oil.. /2<9 ~ J<> o<J efe. ,
The defendant      _·..!~
                        =4,-_____ _ , is em ployed                   as _ _     ......LfJ~/-"J'-- ________
____________-+____________ at ________________t-________________
fhe defend:'Illt - - t - - -- - - - - - ' is employed +-________ _   <IS _ _ _


____________-+____________ ot ________________t-________________
rhe de fen dant - --je--- - - - - -, is emp loyed     +-______ _ _ _ :lS _ _ _


_ _ __ .....:-
       'V_                       ___             01 _ __ __                        ' -"--
                                                                                      V _ _-:--;---:-;;-;;;-:;;
                                                                                                         (revised 9196)
            "
                                     2:11-cv-02065-MPM-DGB # 93             Page 2 of 6

The defendont _ _-40W"-',p!t:..L.._ _ _ _ __                           ' _--'N
                                                      is ",n pl0;ed os __    "';'t,,"'=-_________
_   _______________________ ot ______________,r________________

Additional Ce.fe:ndants and      addn~sses   _ __ _ _ _ _ _ __ _ _ __          +____________



For additio!l::ll pl:tintiffs o r defena:1nts, pro vide the infCl l'm:nion III the same fOl"mttt as above on   :l


separate        pag~.



LmGATION mSTORY

A. Ha . . e you brought any ot her lawsu its in state or federal court denling with the S:1me facts involved

in this c.:lse:                       Yes                                                 No   :);(

If yes, p k:.se d e.scri b e   _ =/},
                                 tJ "--___________


B. Have you brought aoy othe r lawsuits in st.1te or federal court while incarcerated?

                                                Yes                                       No   r:1

C. If your arrswer to B is yes, how m:lny?        4       Describe the lawsuit in the space below . (If there
    Sec ....e18tJ,,<.f;Jt C."""A:.JIP< jJ-ld 4 - ;jc - IZ. <l12d.~
is more tban one lawsuit, describe the additiomillaw$uits 0:1 another piece of paper using the sa me

outline.)

    1. Parties to previous lawsuit:

         P laintiff(s)    -LN"'U
                               "--_____________________ _
         Defendallt (s)




    2 . Coun (if federa! court" give name of district; if sr;ue cOllrt, give n::l.me of county)

           tJ/A
    3.   DocJ,:c~." ~JJllbcl"lJ IIdge_LN=//J"---____________________________
                                               2:11-cv-02065-MPM-DGB # 93                                     Page 3 of 6

                                                        STA TEMEl'iT OF CLAIM

Pbce of the occu rren ce                D/.t.JoJlt{l! &R.-R. Cet-J~
Om of the occur ren ce                   /I-~3 - ZISJ/<C TV                              I - 04- -          zC /I

SiC: /! hut briefly tht: FA.CTS (ila t H'?pOn yor..:.r case. Describe how EACH dejazrJJ.nt is in",ol~uf.
Do r.o: give afty legal argum ents or c:'e ceres or statutes.. Number each claim in c. separau pc."cgraph.                                     Unn-laud deL·!:;
shor..:.!r. be raisel. in. a sepaf C/! civil actio/:.
                      THE COUR T STR ONGL Y URG ES THAT 'iOU US E ONLY THE SPACE PRO'/!DED.



                                                                                             f    ..          •                                     I

     C,C aN /I-03-2alo                              FilA""       nJ~ Tlllp'3/J I?/<.J~d.. clel                                            .Ili"J<! FRIO/( P'
                                                                                         ,
  '[JI4'f]1l.AWf?« uJ,u OI.!i:\N",,s&cd AS 4 DIJ/3tff1Jc                                                    By    DR. CdRlA C3.R6cI3Y 1"1. I),
                                                                                                                                    /1                  #'

                                                                                                                            .rS~~
                          , .                            #                                       . , '


 AiJd. psrctl141rl<./.rrr 01<.                   P4"/Jd}.JdU                     I t III ((Jots f/.(vl!iZ                                     Exlll8t7:s
                             1/                              .-#'                                II
 FANci q "). t 5 (!~ ALSi!> EXU' BIrs J... 'flO II ~ •
                                                             l       •                                                      •        ..                               •

                                            2.. pl6/NIIFP- WIIS pt",Ck>! IN N}J/r/v~ StKfr<lff.Mr/ew
                                                                 .                                                                                           ,
     wltif<1-J    we- JMJ..:JeJ A r                 DdN,,)iJ{~ C , c, FiJI<. 3." dAYS df.Jc{ ,t1s 4 [)1tf8d'7Jc
                                                        ,L                           L                                      4


     Wi<   W&.J Jd~" "17> ~C6:'N& I"'Sul..) '" u:J"!!1tJ~h)~                                                            lI)s 8L4>a.c/ S<JqA~
                                                                         (                             '"         I     •

  Uu«<.-·wH .dh.,u~ 2.~t!l J~sr &I/(..{; AT rtf/IV 01.>                                                               R/uefZ         uJN"fU) II~


                                                                                 •
                                             3. upo/-J               AfU.J.JUAL .4'1 DI1IJJJt;te. Q~4J-J'

 'rALIS"'- 4S V",c,,,,/Z                   C: tt&i.;"'lll
                                                             -               .
                                                                         DJIZ~eJftJlI.. (}.lAS S<Jf¥J6B~Ta [lNI<!:o..J foiY
           .          ,                                                          .
t.tI&J.JLIII. FlU: IIfJ<i E\JALUA'~ /<-IV seci.JoU.J DI~B~Jc M~/CA( ,<JeM.}' .Bel!
 .                                         .                                     "
[.6JI.~recit!l..J01 Id~d./J€J'Qe&SI<J'- IrJSOUN J,<.lc{,d5 t! R.~<JL'f:s ",-,.:1::5
                                                                             .                                        ( . .                                      ..
pJ;/YS'!L4U« 4,we{ (;).Nd,otDq / CAiLY 1}J:ruU<i. 7ll1'1.5"- 1I-J.:J"<:lR/6i:! ~WILY
                                  ~
                                    ,                                                                                           (



pl<.lN"JJiilI3L4-                       (,XJ<jLc/ UA<J~ cPJ-JrR['a&d }1Y),/~"1I QL<:JC<!lS(,
                             M If'-lSOi..JtJ
 LG\Je-U FIWI"o               H-<o3-;2olo 7b 1-04--;2.011 .C:5E£ eXUN3Ir All),
                                                     2:11-cv-02065-MPM-DGB # 93        Page 4 of 6




                       ,
   nlClJ     tllJ INRIi?61PCJ)                        ('AN e~ Df2.4wN liJA<r f./1,J C5JLfJd/!'L~ R~4l




                                                                                                          ,

                                       .
~~~~'C19 ~ICAL ~ {fe. _. TI14rhy BL~ GL<.JC4S~ LNE-l.S
                                                             5,       O~pdAf.J'      vUlt:>, wA..f
                                                                                               .
                                                                                                         IAJF~~


                               .           /./             ~.
  w~ie V,(Lv i-I J§ /I (SEE E)(11I81r -4 /I J, 13u~ Foa.. !'JvlliZ. 3'" ciA Y.J :r

 S,,'t(
            ,
          die.( tJ"..- R~'tJt;..
                                                       ..
                                                      INSuLIN;            711& 1'.4eg= n/Ar    r /J4oI   ,0        EI/iiIJTIM/{V
             .1            I                                                                   l .                  "

 (',HJ~p'vJLlUc/ ()~ l-04--2 oJLj'' I{2kArfvt~LJ..'J/rlJ (f..}S<..KIN To
               ,                          ,                                   .
(C~(. MV {)1,j{31ff'~s AH<>! CetL0Uv0.5 I N I...H='V GRQ.Ar Vbe- is                                                         Q<in:1,
    •                                            "     I                                                       ..             •

 EVIJ.~ nJA'< MY C(,dJA Is Fi1asr..:JAt..                                     r IlAve .dU'" B-!-1 oJJ         ),..;.s<JLIN
                                                 •
 ToJl~     4 DAY trU<iJ?. S/Pc.e. /-04- - 201/ 'I'" PfUM~N" Co.J£dl.. A WAR. fJooJ .
                      .:                                                                       }




                                                                                •
                                                            W.      O"'Id~ t,"Jc1t:!-1CB /W11, O~"y·JdAtJr
                               ' \                              ~                          ~

 'TAl(',cr CIDMM Irr~d I r-Jn,P'f'J DiJJlL uJRoJ-Jetdo/Ng wl'll4                                          (lee kL"SS
                           .       •                                                                 ~        II              it   •

_4}Jc{ W4/.-l'f6J-1 ()1.!;{(~JlRai FoI1.,LoIII J/e;JL'rvJ 4AJcI ~f?AfU' ~j(IJr.1 lAY EXilIBIY3-
         N                                                           I    r
- B'PI E '), TAl{3er '1oLd. M'ALSo:r I &tid tJ<N~ ~l!'r DI46erJ£ 5/loe
                  •
                                                                                                                             -
i!o/J~ eEL/kG 'i<l .9U-- ~~t!li-l~ I ALso:nJ~ u.JARcJ.~tJ SAId S/Jo<M w~
                                                              .           7
                                                                                                                        /          .
 ([j£.d~ R<JL'£' ~ R./X~/<JGd.'rId~h ,luJr.dS 74LfY;Jr svtJV1&:i . Tl/u
 sllo",s TlJ4'r TAL611' poS/f-SS&o( ;!1,d tie 1O<J.5 iN"~'r 10 detJYplUl:BCRlffo:J, c,<JLJfl,JB
 of TJ?,e4,,,,,,,pr .J<JSr~d.Sb r s.x.ol ~pUf' ' WliIc;J/ Is Z:/Z<J« A. uiJ!.lSV/,L
  PtljJlSlihil).110 \}lDLA,,'I-U~ ru .. t3W         A;-c~MeJ.J"f of u.s. CC/-lSYJrur-lt:JiJ .
                                                                      5
                                                         2:11-cv-02065-MPM-DGB # 93                                Page 5 of 6
                                                                                                                                          /
                                                             RELIEl' REQUESTED

                                                   (Sla u e:.:C C!!y what relit! you   IVa .l!   f rolll !h! COU.Tt.)
                                               (     ,                                                                                           I   ..


       .T ~pc.JI.Jo'd~ MN6l€:;f                                                  /;..1 .llMElu,<Jtr 6:lF J                         to, AIC{ ItJ)J
                                                                            ,      (


       DllU~U Ai-Jd. ,/LJo                               J/ ,~,       j41(t/JotJ                 Do/...L6II!d'           C.CJ/-tf6oJ..}d'~\(
                                           (               (t(                                       t{.~                    I

    MMAG::!" ~R.l,}t"'~4crJ'1'1Q (c.fLr.p •.d.                                                          ) CivJl.. R6~lIrr ~w-/nrl-
   &          •                                                                                             i                           '                 .

  IlJ;..)~ ~Op::f;kr;                                              S ~~.. tF aPcJ,<J$€C...

  "(ll i1&-(i f1{C F;tJlJti d.r.r<2-~ y                                  J~ ViJ?f ~"'- .A~ ~d/~v'Q
  /v1,L;g]~ pR.J~F> Yf.JALSG!! fo~ ~€i(                                                                                IF.· Z<D/2. t          j,L    '7,'00,4/<f

  AS     DU{J49iVi<l~                      y e .d6 J..)            lJe,a~ (,IIJ~                     1$        <f4JjJ~           3"'"     Z<£J   /2..,


                   ,                   <
 B"pRPcJJd~                          UJ)   'Tid u{JV <DiF                u!)t2';<F£>M                    DR /5tfl-l'Tl2.>I ~<Dc.Jjl C6JPTlMcr
                                 .
 UJlnJ D4t-JtJJue c.c, o~r./J . o.c.nl,4<{~ QR,TitLBorJi4.d .deLed/(
  DulY 'fD {2eu!ew ,A.fY,A4.&iN:At... Flu TtrJ EVIJL<.J4'IT-.II1yseI?J~<-:JJ Ol,we<nJc ~_
JURy DEiYg.i'~'D             Yes       ~                           No 0 (DR.. if.J~UN.


                           .,,
           Signed this _#
                        '-'-'~             _ ___                    day of       MAV



                                                                                                           ( Signalu.r~ of Pla in.tiff)



 Nalll t o[ PiLlinlilf :                   ,                                     lillI/air       Id~l !l iflC(/{iol/   Number:




                                                                                 Ttlepholle Numva:
                                                               •                        (1..17) l{L{ ~ - 0 "f Lf. {
  S B10 E. Io-v1riJ $I (j,U.Ju/ll ~ I rL.
                                   2:11-cv-02065-MPM-DGB # 93               Page 6 of 6

                                        .                           ,
                   Q&CL,.dIZATlll/-J ,MJd            Viii2.~tz;(';J'r/olJ Bv C€!R-";F/~Arr(~tJ
                   gv pfUJ        -$"   pL,dll,l'';FFI!~                   t,       N!rz Jl?,:tIN-!J~JI{3&

                             ON nt IS                           lI±L
                                             d 11 Y 0(2 .J:'MAO=..!.v_ __
 'ltJll,'I, t1~"uJiI-Il, Nlrz JI2 " PiLe>,J€- pL4it-Jn'PP . l)€cLiIl"                             ,
   u/-JdB4/. (Je;JilL<YCJP p~..:JR..v' pu/1...3u4f.!T {o 18os<:~/C42(
                                                            ,              ij-b{ 2B USc.
                                                                              ,
   § 174-4, TIl.!";- I Aft, nit ~llJiIFi= To viJ JJ ,dc.'r/l>f..,} ,.dtl4~,.:d/oJ~ V74c
  {PwtP!-J JiJ<r ,6dd rlJ4- Dacro/( P4uL,.d , '1,dL8O'ir M,O , CM~{UtiJ, ttf{-('V_:z!JI;,S
  /J1Tz. \/, Bt=tL t (21           a..(.t pu!lso,4.ur".,         ;)LJd.q~               MJ"cUA£L       p,   Mc6JSK,fy i
 OP;N {DiJ! .O£>clterrnwr ~fifl.. c1A'~                             L{ -   30       -
                                                                                                       .
                                                                                        2012 , :T 1/4U(;            ~&c{
 nI~ ('Ofl1(lUJi-ff' ,f'fV-I1c.J1e4 tI~Tc> AP&i J/,1cJG /(~c0lQ:{4B. tfJF' 1'1.1 OJtJ'il!)Ja
 flU .sV&~M'lJru A~<l 'fR-'-'e- 1Jp6/ ('Q~ ~l<cepr j:'<>;t...dt-N J.t~, 134~
 C;JLV LlN itJr.,RMPrlcN DR_ /3ALj~i' LJ~ ,4-/ TO SUC14 }-!A~.T ct<$J:ft'i!V''1j/,I'(
       ,                                                                                     '
r V~P.JLV Bl!l-i"tJE< SliM" 1'" jUo 8f rlJJe- ,('I :;&e- JL.S'" II l< UlIsl'rJ "f'" OlMfJl-41.o r
}.M R.J(Bo/    4     10   q ") .d 1-101. H"),

                          , ~14 41-l r ...,lA! 11'< TVlI< It. U /-J(JJJJ fI./Ue-R.. (l, <2,
                                                                                .
   r                   .
       u.>4J D/M~~-4, ..JJ<rLi D /4~~ /JIe-LLiVV.J DfI...(" Otvl ,") .5iii€-
    P.1Z."\<!dkPL~ ~IS/rJ F Jl,.JcJ.                  G. - i D~4f..J" 7AL(3"''t P'!'/(i-& To
   ~R>i.<1 A dlJ'fY
               l          r
                                  t)" d LJ« A Gch cAe Ula;
                                                ~
                                                                     711 ;!'i<·ut.j ;L1 tJ ~11 l~&. Y 4;..Ja/
                                                                                                                (

   /J"I-l ·-DISCR.t?riotJ.dR.Y BY (JlILOlQIi- '(0 l1-«ul~ MY t'1£c/dCAL. FI(~ 4f.J4
  CUdLudTf' ;t1v J<i,Jv,:u Did&2«~~ /'...I(u?cis tJ.J¥leN r wM 'ij!."'I-1.sf?~
  FJUr>M. .ItiJP€>J.f RI\J~R C.c. To> DAN,,;t!,- c, C, orJ 1!-oj-Z€Jla J~
                     C        •             I                                                               (

 :r .udJ'ded-1l&d             IIJSI.JL/I'J Foil mJIiIL 3& dAY! A~ WAJ M,V.fJc'{tN
  ilJ:JutZ.M 1.. flSic{"o~ )u Jt{y Ollfl'tJlr;,k{ , .4.f .d OJ~
  R~ul'(,          Tt1O<J~lJ:r <.LlJlJ AU",
                                                            ,   ~ ~~ K rA"'<r~
                                                                               .
                                                    ptl1M<!i.JI?(X/ OtJJII.€"l/C            S"' ..~   .:sr ,ueU€/I..
 g.ea>W&o! ,<de", Tlltl<Jltv P(1.i<;rcIll8&d fl,y           "Tilt.. [JAy t11~S~F • IfopeJ.-tdd ,J[/7jL8PT'
                                          t                     •           ~                                       ~


 TOLd   .M& :i: w{S>u!.oI rJ~d( «.~~IV' ~J)1 4Be;;ie.s~ B~<.J.J'l:stJl(~ 7"
                                                                                             ,
  S~ e..J~~Y, LArreli. ON /t1.4Y q·li, 2€J/1 c,.Jdi1d~jJ r. e l'l'lJ <l, j/.XjL!j.JSE}J'Y
 fl /.J f - ,t<J JL T~ Jij0ld (, /.A. /L L&«-- Fall' A. R.. B, (J(:'{: ieo,..              0'"
                                                                              IflJt4A"f€ i.fJI.JE-.s
 .J[,!!'fit-J"- .!T W"clLA{ q~ DIM5e<-i C Std""O Bdr['"• .1' ttl eJ&L 4 ..r 'i11eA ;:]<Jdrris
                                                                     'J-
 TAlIJ,DV'"~,                                              ~ ;J" IJ~ ).,t fJ-DB4-s~
          "I                                                ,
